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18                              UNITED STATES DISTRICT COURT
19                           SOUTHERN DISTRICT OF CALIFORNIA
20   QUALCOMM INCORPORATED,                               Case No. 3:17-CV-1375-DMS-MDD
21
                            Plaintiff,                    DEFENDANT AND COUNTERCLAIM
22          v.                                            PLAINTIFF APPLE INC.’S OPENING
                                                          CLAIM CONSTRUCTION BRIEF
23
     APPLE INC.,
24                                                        Date:      September 5, 2018
                            Defendant.                    Time:      9:00 a.m.
25                                                        Place:     Courtroom 13A
26                                                        Judge:     Hon. Dana M. Sabraw
     AND RELATED COUNTERCLAIMS.
27
28
                                                                   Case No. 3:17-CV-1375-DMS-MDD
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 1   I.     INTRODUCTION
 2          Proper claim construction begins with the plain meaning of terms informed by
 3   the intrinsic evidence. Phillips v. AWH Corp., 415 F.3d 1303, 1314-15 (Fed. Cir. 2005).
 4   For this reason, a usage consistent with and supported by the specification and the
 5   embodiments within a patent is almost always the proper construction. Id. at 1316.
 6   Deviations from the specification are unusual and justified by only an unmistakably clear
 7   disclaimer. GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir.
 8   2014). Qualcomm nonetheless repeatedly violates these elementary tenets. Qualcomm
 9   artificially restricts the claimed inventions by adding limitations that do not exist, relying
10   on cherry-picked specification quotes that Qualcomm misapplies to contradict the
11   complete teachings of the patents—sometimes embodiments described in the very next
12   sentence. Qualcomm also conjures indefiniteness arguments for nearly every asserted
13   claim—arguments that deny the plain language of the claims, deviate from the written
14   description, and disregard the knowledge of one of skill in the art.
15          For these reasons, Qualcomm’s constructions should be rejected.               Apple’s
16   constructions, on the other hand, find solid support in the law and fit with the plain
17   meaning of the disputed terms and the intrinsic and extrinsic evidence.
18   II.    LEGAL STANDARDS FOR CLAIM CONSTRUCTION
19          “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the
20   invention to which the patentee is entitled the right to exclude,’” and as such claim
21   construction must focus on the claim language itself. Phillips, 415 F.3d at 1312. The
22   construction “that stays true to the claim language and most naturally aligns with the
23   patent’s description of the invention will be, in the end the correct construction.” Id. at
24   1316. Claim terms “are generally given their ordinary and customary meaning” as
25   understood by the skilled artisan at the time of the invention. Id. at 1313. “There are
26   only two exceptions to this general rule: 1) when a patentee sets out a definition and acts
27   as his own lexicographer; or 2) when the patentee disavows the full scope of a claim term
28   either in the specification or during prosecution.” Thorner v. Sony Computer Entm’t Am.
                                                   1
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 1   LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). “The standards for finding lexicography and
 2   disavowal are exacting.” GE Lighting, 750 F.3d at 1309.
 3          Claim construction begins with the intrinsic evidence—namely, the claim
 4   language, the specification, and the prosecution history. Phillips, 415 F.3d at 1312–17.
 5   The claims provide important guidance both through “the context in which a term is
 6   used” and “differences among claims.” Id. at 1314–15. The specification is “always
 7   highly relevant.” Id. at 1315. However, the specification must be used with care because
 8   it is improper to read limitations from embodiments described in the specification into
 9   the claims. Id. at 1323. The prosecution history may shed light on what a term means,
10   but “it often lacks the clarity of the specification and thus is less useful for claim
11   construction purposes,” id. at 1317, and it will not limit claim scope unless it contains a
12   “clear and unmistakable” disclaimer. Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314,
13   1325–26 (Fed. Cir. 2003). Extrinsic evidence, like dictionaries and treatises, may be
14   considered, but plays a limited role in claim construction. Phillips, 415 F.3d at 1320–21.
15          “[A] patent is invalid for indefiniteness if its claims, read in light of the
16   specification delineating the patent, and the prosecution history, fail to inform, with
17   reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus,
18   Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014). An accused infringer bears the
19   burden of proving by clear and convincing evidence that a claim is indefinite. Biosig
20   Instruments, Inc. v. Nautilus, Inc., 783 F.3d 1374, 1377 (Fed. Cir. 2015); see also 35 U.S.C.
21   § 282(a) (“A patent shall be presumed valid.”).
22   III.   U.S. PATENT NOS. 7,355,905; 7,760,559; AND 8,098,534
23          The ’905, ’559, and ’534 patents (Decl. of Robert M. Yeh1 Exs. 1-3, collectively
24   the “Campbell Patents”)2 relate to methods that allow for different voltage levels in the
25   1
       All references to exhibits are to exhibits of Declaration of Robert M. Yeh in Support
26      of Defendant / Counterclaim-Plaintiff Apple Inc.’s Opening Claim Construction
        Brief.
27
     2
       The Campbell Patents (Ex. 1 (U.S. 7,355,905 (“’905”)); Ex. 2 (U.S. 7,760,559 (“’559”);
     Ex. 3 (U.S. 8,098,534 (“’534”))) are related patents. They share the same specification
28   and all claim priority to U.S. App. No. 11/173,565 filed on July 1, 2005, now the ’905
     patent.
                                                   2
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 1   memory and logic portions of an integrated circuit in view of what the patents describe
 2   as the “increase in importance” of “manag[ing] . . . power consumed by an integrated
 3   circuit.”. (Ex. 1 (’905) at Abstract, 1:14–19.) Reducing power consumption can be
 4   difficult because, while “[p]ower consumption in an integrated circuit is related to the
 5   supply voltage provided to the integrated circuit” (id. at 1:28–29), the amount that the
 6   supply voltage to the memory can be reduced is limited because “[a]s supply voltage
 7   decreases below a certain voltage, the ability to reliably read and write the memory
 8   decreases.” (Id. at 1:43–44.) The Campbell Patents solve these thermal and power
 9   management issues by separating the supply voltages into “at least one logic circuit
10   supplied by a first supply voltage and at least one memory circuit . . . supplied by a second
11   supply voltage.” (Id. at 2:4–6; see also Ex. 4 (Decl. of Robert L. Stevenson (“Stevenson
12   Decl.”)) ¶ 21.) This allows the voltage of the logic circuits to be lower, and “[r]educing
13   the supply voltage generally leads to reduced power consumption.” (Ex. 1 (’905) at 1:36–
14   37.)
15          A.     “integrated circuit” (’905 patent, claim 1; ’559 patent, claims 1, 2, 3; ’534
                   patent, claims 1, 3, 4)
16
17     Disputed Term              Apple’s Construction            Qualcomm’s Construction
      “integrated           “one or more circuit elements         “a chip made up of
18    circuit”              that are integrated onto a single     connected circuit elements”
19                          semiconductor substrate”
            Here, the parties primarily dispute whether an integrated circuit refers to circuit
20
     elements, which are on a semiconductor substrate (Apple), or whether a chip itself is an
21
     integrated circuit (Qualcomm). The claims, the written description, and the prosecution
22
     history all support Apple’s construction. (Ex. 4 (Stevenson Decl.) ¶¶ 23–35.)
23
            The claim language supports Apple’s construction. Nothing in the claims requires
24
     an “integrated circuit” to be the chip itself. Rather, all that the claims require is that the
25
     integrated circuit contains interconnected circuit elements, in this particular case a logic
26
     circuit and memory circuit. (Id. ¶ 25.) For example, Claim 1 of the ’905 specifically
27
     recites “An integrated circuit comprising: at least one logic circuit … and at least one
28
                                                   3
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 1   memory circuit….” (Ex. 1 (’905) at 11:12–15.) The other claims contain similar
 2   descriptions of integrated circuits as containing a number of circuit elements. This
 3   construction is consistent with the plain language of the claims. Dictionary definitions
 4   provided by both parties confirm this proposed claim construction. For example, the
 5   Microsoft Computer Dictionary, cited by Qualcomm, defines an integrated circuit as “a
 6   device consisting of a number of connected circuit elements, such as transistors and
 7   resistors, fabricated on a single chip of silicon crystal or other semiconductor material,”
 8   which does not require an integrated circuit to be the chip itself, but rather—consistent
 9   with Apple’s construction—describes connected circuit elements on a semiconductor
10   substrate. (Ex. 4 (Stevenson Decl.) ¶ 33 & Ex. J; see also id. at Exs. F–I, H–L.)
11          The written description and prosecution history further support Apple’s
12   construction.     The written description repeatedly describes “integrated circuit” as
13   comprising logic and memory circuit elements, not as a chip. (See, e.g., Ex. 1 (’905) at
14   Abstract, 2:3–9, 2:49–63; see also Ex. 4 (Stevenson Decl.) ¶ 26.) Further, the written
15   description explains the “integrated” aspect of the term, explaining that the memory and
16   logic elements are “integrated onto a single semiconductor substrate (or chip)”—again
17   not the chip itself. (Ex. 1 (’905) at 2:61–63; see also Ex. 4 (Stevenson Decl.) ¶ 29.) Nothing
18   in the prosecution history defines “integrated circuit” differently from this usage. (Ex. 4
19   (Stevenson Decl.) ¶ 32.)
20          B.       “received on a first / second input to the integrated circuit” (’905
                     patent, claim 1); “receiving power from at least one first / second
21                   input to the integrated circuit” (’559 patent, claim 1)
22      Disputed Term         Apple’s Construction        Qualcomm’s Construction
23    “received on a first   “provided to the        “generated external to the integrated
      / second input to      integrated circuit on a circuit and connected to the integrated
24    the integrated         first / second input”   circuit on a first / second input”
25    circuit”
      “receiving power       “provided power from       “supplied by a first / second supply
26    from at least one      at least one first /       voltage generated external to the
27    first / second input   second input to the        integrated circuit and connected to the
      to the integrated      integrated circuit”        integrated circuit on at least one first /
28    circuit”                                          second input”
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 1            The parties’ dispute centers on Qualcomm’s attempt to change the claim language
 2   and insert extraneous language into the claims. The claim language, written description,
 3   and prosecution history support Apple’s construction. (See Ex. 4 (Stevenson Decl.) ¶¶
 4   36–44.)
 5            The claim language supports Apple’s construction given that Apple’s construction
 6   amounts to the plain meaning of the claims. (See id. ¶ 37.) In addition, the specification
 7   uses the phrase “provided to the integrated circuit” in the same way that the claims use
 8   “received on a first [or second] input.” (Id. ¶ 38.) For example:
 9               The logic circuits 12 are coupled to the memory circuits 14. The logic
                 circuits 12 are powered by a first supply voltage provided to the
10               integrated circuit 10 (labeled VL in FIG. 1). The memory circuits 14
                 are powered by a second power supply voltage provided to the
11               integrated circuit 10 (labeled VM in FIG. 1).
12   (Ex. 1 (’905) at 2:53–583.) This passage’s language mirrors the claim language, except
13   that instead of a supply voltage being “received,” the supply voltage is “provided to the
14   integrated circuit.”      Nothing in the prosecution history counsels a different
15   interpretation. (Ex. 4 (Stevenson Decl.) ¶ 43.)
16            Qualcomm improperly seeks to insert language not found in the claims. Nothing
17   in either the claims or the written description indicates the source of the voltage being
18   provided to the integrated circuit. (Id. ¶¶ 41–42.) Indeed, “generated externally” does
19   not appear in the claims, specification, or prosecution history. Further, without any basis
20   in the intrinsic record, Qualcomm inexplicably changes “power” to “voltage” in claim 1
21   of the ’559. The Court should reject Qualcomm’s attempt to rewrite the claims under
22   the guise of construction.
23
24
25
26
27
28   3
         For all references, emphasis has been added unless otherwise noted.
                                                  5
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             C.      “during use” (’905 patent, claim 1; ’559 patent, claims 1, 2; ’534 patent,
  1                  claim 1)
  2     Disputed                    Apple’s Construction                         Qualcomm’s
  3       Term                                                                  Construction
       “during use” plain and ordinary meaning. To the extent the Court         Indefinite.
  4                 finds that further construction is necessary, “while
  5                 operating”
  6          The term “during use” is unambiguous to the skilled artisan when read in context
  7   of the claim language and specification. Qualcomm creates the parties’ dispute by
  8   arguing that “during use” is indefinite, but ignores the intrinsic evidence, the knowledge
  9   of one of ordinary skill, and common sense. (Ex. 4 (Stevenson Decl.) ¶¶ 45–49.)
10           The claim language itself supports the plain and ordinary meaning of the phrase
11    “during use.” (Id. ¶ 46.) The claims illustrate its meaning in relation to the operation of
12    the circuit elements. For example:
13                 “at least one logic circuit operating in a first voltage domain during
                    use” (Ex. 2 (’559) at cl. 1.)
14
                   “at least one memory circuit coupled to the logic circuit, wherein the
15                  at least one memory circuit comprises a plurality of static random
                    access memory (SRAM) cells operating in a second voltage domain
16                  during use” (Id.)
17    Consistent with the plain and ordinary meaning, the claims indicate that the logic circuit
18    and the memory circuit are operating “during use.” (Ex. 4 (Stevenson Decl.) ¶ 48.) The
19    written description also uses this plain and ordinary meaning by using the term “during
20    use” in relation to the operation of the claimed circuit:
21                The supply voltage for the memory circuits 14 (VM) may be maintained at
                  the minimum supply voltage that provides for robust memory operation
22                (or greater, if desired). Thus, the VL supply voltage may be less than the
                  VM supply voltage during use. At other times, the VL supply voltage may
23                exceed the VM supply voltage during use (e.g. at times when higher
                  performance is desired and higher power consumption is acceptable to
24                achieve the higher performance).
25    (Ex. 2 (’559) at 3:26–37; see also Ex. 4 (Stevenson Decl.) ¶ 47.)
26           The written description further illustrates that “during use” refers to the period
27    when both the logic and memory circuits are operating, unsurprising as the patents
28    concern the interplay between logic and memory circuits. (Ex. 4 (Stevenson Decl.) ¶ 48.)
                                                   6
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  1   For example, the claims refer to both recited logic and memory circuits operating during
  2   use:
  3              “the memory circuit is configured to be read and written responsive to
                  the logic circuit even if the first supply voltage is less than the second
  4               supply voltage during use” (Ex. 1 (’905) at cl. 1.)
  5              “wherein a magnitude of the first supply voltage is less than a
                  magnitude of the second supply voltage at least a portion of the time
  6               during use” (Ex. 3 (’534) at cl. 1.)
  7   (See also Ex. 2 (’559) at cl. 1 (above).) The specification also describes the use of the logic
  8   and memory circuits during operation:
  9             The logic circuits 12 may generally implement the operation for which
                the integrated circuit is designed. The logic circuits 12 may generate
10              various values during operation, which the logic circuits 12 may store in
                the memory circuits 14. Additionally, the logic circuits 12 may read various
11              values from the memory circuits 14 on which to operate.
12    (Ex. 1 (’905) at 2:64–3:2.) Accordingly, the Court should adopt either the plain and
13    ordinary meaning or the related meaning “while operating.”
14    IV.    U.S. PATENT NOS. 7,383,453 AND 8,433,940
15           The ’453 and ’940 patents (Exs. 6 and 7, collectively the “Youngs Patents”)4 relate
16    to saving power by placing different portions of a processor in different power modes.
17    Advancements in processor technology led to faster and smaller processors, but also
18    increased power leakage, a form of power consumption that does not contribute to the
19    processor’s function. (Ex. 6 (’453) at 1:27–58.) Increased power consumption was
20    especially problematic for battery operated devices, such as laptops, with limited power
21    supplies. (Id.) To reduce power consumption, the Youngs Patents disclose innovative
22    power conservation techniques whereby the instruction-processing core(s) of a processor
23    and the non-instruction processing area(s) of a processor may receive differentiated clock
24    signaling and voltage as part of different operation and power-saving modes. (Id. at 1:65–
25    2:9; see also Ex. 8 (Decl. of Sherief Reda (“Reda Decl.”) ¶ 23.) For example, in one mode,
26    to conserve power, the clock signal to the instruction-processing core is inactive and the
27    4
        The Youngs Patents (Ex. 6 (U.S. 7,383,453 (“’453”)); Ex. 7 (U.S. 8,433,940 (“’940”)))
28    are related patents. They share the same specification and both claim priority to
      application No. 10/135,116, filed on April 29, 2002, now U.S. Patent No. 6,920,574.
                                                    7
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  1   voltage to the instruction-processing core is less than in its normal operation. (Ex. 6
  2   (’453) at 4:59–5:10.)
  3            A.     “core” and “area” (’453 patent, claims 1, 2, 4)5
  4       Disputed                 Apple’s Construction                         Qualcomm’s
  5         Term                                                                Construction
          “core”   plain and ordinary meaning. To the extent the Court        Indefinite.
  6                finds that further construction is necessary, “a logical
  7                or physical instruction processing mechanism”
          “area”   “a portion of the processor excluding a core”              Indefinite.
  8
               The ’453 patent’s asserted claims recite an “instruction processing system”
  9
      comprising “a core with instruction-processing circuitry” and “an area coupled to the
10
      core.” These terms are unambiguous to the skilled artisan when read in context of the
11
      claim language and specification. Qualcomm argues that both “core” and “area” are
12
      indefinite, but ignores the intrinsic evidence, the knowledge of one of ordinary skill, and
13
      common sense.
14
               Taking “core” first, the claims recite “a core with instruction-processing
15
      circuitry.” (Ex. 6 (’453) at cl. 1.) As is apparent from the claim language alone, the ’453
16
      patent uses the term “core” consistent with its plain and ordinary meaning—“a logical
17
      or physical instruction processing mechanism.” A person of ordinary skill in the art was
18
      well aware of what a core was, the existence of multi-“core” processors, and that the
19
      cores in those processors perform instruction processing. (See, e.g., Ex. 8 (Reda Decl.)
20
      ¶¶ 27–31; Ex. 9 (Reda Dep. Tr.) at 55:16-57:11.) Indeed the concept of a core was so
21
      ubiquitous that there simply should not be any debate regarding its definiteness. (Ex. 9
22
      (Reda Dep. Tr.) at 56:5–8 (“When you ask the plain, ordinary meaning of core is that any
23
      core, an instruction-processing mechanism[,] could be logical or physical.”); id. at 74:20–
24
      75:3.) Consistent with the plain and ordinary meaning of “core,” the specification
25
      describes that “[c]ore power area includes the instruction-processing portion of
26
      processor 102. Specifically, core power area 126 includes arithmetic-logic unit 104.”
27
28
      5
        As the terms “core” and “area” are related and the dispute over their construction is
      likewise related, they are addressed together.
                                                    8
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  1   (Ex. 6 (’453) at 3:10–13; see also Ex. 8 (Reda Decl.) ¶ 28.) Figures 1A and 1B illustrate
  2   this idea, showing a “core power area 126” with “arithmetic-logic unit 104” that
  3   “provides computational and logical operations for processor 102.” (Ex. 6 (’453) at
  4   3:7–17.) The patent further explains that the “voltage applied to core power 134 remains
  5   sufficiently high during instruction processing so that core power area 126 remains
  6   fully active.” (Id. at 4:13–15.)
  7          As for “area,” claim 1 distinguishes “a core with instruction-processing circuitry”
  8   from “an area coupled to the core.” (Id. at cl. 1; see also Ex. 8 (Reda Decl.) ¶ 36.) In
  9   other words, from the plain language of the claims alone, “area” is “a portion of the
10    processor excluding a core,” as Apple proposes. The written description provides
11    explicit guidance that the area makes up “the remaining portion of processor 102.” (Ex.
12    6 (’453) at 3:30–37.) The specification further describes an area by its contents: “non-
13    core power area 124 includes portions of processor 102 that are not directly involved
14    in processing instructions.” (Id. at 3:34–36.)
15           One of skill in the art was well aware that, as described in the ’453, a processor
16    contains instruction processing components and auxiliary components. (Ex. 9 (Reda
17    Dep. Tr.) at 118:14–20.) Various terminology was used in the field to describe this
18    conceptual dichotomy, including, for example, core and un-core. (Ex. 8 (Reda Decl.) ¶
19    37 (noting an “uncore” is “not in the processing core,” but rather includes “circuits on a
20    chip that are not executing program instructions”).) One of skill in the art reading the
21    ’453 patent would understand that the applicant chose the terminology of “core” and
22    “area” to capture this dichotomy. (Ex. 8 (Reda Decl.) ¶¶ 34–36; Ex. 9 (Reda Dep. Tr.)
23    at 120:8–21.) As such, an “area” must contain auxiliary components, and, indeed, the
24    patent describes just that: “Non-core power area 124 comprises the remaining portion
25    of processor 102 and includes interrupt processor 112, real-time clock 114, clock
26    distribution circuitry.” (Ex. 6 (’453) at 3:30–32; Ex. 8 (Reda Decl.) ¶ 36; Ex. 9 (Reda
27    Dep. Tr.) at 82:14–82:25.) The patent further underscores the core / area distinction by
28    associating voltages with each. (E.g., Ex. 6 (’453) at Fig. 1A (“core power 134” and “non-
                                                  9
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  1   core power 136”) & cl. 1 (“core voltage” and an “area voltage”); Ex. 9 (Reda Dep. Tr.)
  2   at 133:14–19, 134:6–135:9.)
  3          Even though the specification delineates between a “core” and an “area,”
  4   Qualcomm complains that the terms are indefinite because the patent describes that the
  5   L1 cache and the L2 cache may be in a core or in an area, depending on the particular
  6   embodiment. Because the specification does not limit L1 and L2 caches to a specific
  7   location, Qualcomm deems the claims indefinite. Qualcomm’s argument is incorrect as
  8   a matter of law—claims may simultaneously cover alternative embodiments without
  9   being indefinite. See, e.g., dunnhumby USA, LLC v. emnos USA Corp., No. 13-CV-0399,
10    2015 WL 1542365, at *29 (N.D. Ill. Apr. 1, 2015) (“A claim is not indefinite merely
11    because it covers broad possibilities and encompasses multiple embodiments of the
12    claimed terms.”) In dunnhumby, for example, the court rejected the argument that a claim
13    was indefinite simply because “the person of ordinary skill would not know whether
14    storing something with a user profile means to be stored in the user profile, or next to
15    the user profile, or in the same file as the user profile, or in the same network or computer
16    as the user profile.” Id. (emphasis in original); see also Cal. Inst. of Tech. v. Hughes Commc’ns
17    Inc., 35 F. Supp. 3d 1176, 1194 (C.D. Cal. 2014) (“The fact that a term covers broad
18    possibilities does not render it indefinite, as long as a person of ordinary skill can identify
19    the outer boundaries, expansive though they may be.”).
20           Contrary to Qualcomm’s suggestion, the ’453 does set out an objective anchor by
21    which to differentiate a core from an area. The components of a core and an area are
22    defined and identified based on whether they are directly involved in processing
23    instructions.     (Compare Ex. 6 (’453) at 3:10–11 (“Core power area includes the
24    instruction-processing portion of processor 102.”), with id. at 3:34–36 (“[N]on-core
25    power area 124 includes portions of processor 102 that are not directly involved in
26    processing instructions.”).) This objective criteria resolves the question Qualcomm
27    raises regarding the L1 cache and L2 cache—if either is directly involved in processing
28    instructions, it is part of a core; if either is not directly involved in processing instructions,
                                                     10
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  1   it is part of an area. Figures 1A and 1B bear out this definition. Figure 1A illustrates an
  2   embodiment where the L2 cache, cache tags and cache snoop circuitry are not directly
  3   involved in instruction processing (and are therefore part of a non-core area). Figure 1B
  4   illustrates an alternative embodiment where the L2 cache, cache tags, and cache snoop
  5   circuitry are directly involved in instruction processing (and are therefore part of a core).
  6   For at least these reasons, Apple’s constructions should be adopted and Qualcomm’s
  7   indefiniteness arguments rejected.
  8            B.     “sufficient to maintain the state information of the instruction-
                      processing circuitry” (’453 patent, claims 1, 2, 4)
  9
             Disputed Term          Apple’s Construction         Qualcomm’s Construction
10        “sufficient to           “at least a value that    “a minimum value that maintains
11        maintain the state       maintains the state       state information of the
          information of the       information of the        instruction-processing circuitry,
12        instruction-             instruction-processing    which minimum value is not
13        processing circuitry”6   circuitry”                sufficient to allow instruction
                                                             processing to continue”
14
               The parties’ dispute concerning the term “sufficient to maintain the state
15
      information of the instruction-processing circuitry” raises two issues: (1) whether this
16
      term is limited to the minimum value that maintains state information of the instruction-
17
      processing circuitry and (2) whether the term excludes values “sufficient to allow
18
      instruction processing to continue.” Neither restriction is warranted by the ’453’s claims,
19
      specification, or prosecution history. This term should be given its plain and ordinary
20
      meaning of “at least a value that maintains the state information of the instruction-
21
      processing circuitry.”
22
               One of ordinary skill in the art reading the ’453 would understand that the claim
23
      term “sufficient to maintain the state information of the instruction-processing circuitry”
24
      means that the voltage can be a range of values including the absolute minimum to
25
      maintain the state information, as well as a higher values that allow both the maintenance
26
27
      6
       Apple maintains its objection to Qualcomm’s proposed term which ignores the context
      of its use in the claims. Apple discusses this proposed term in both contexts in which it
28    appears in the asserted claims – “normal operation mode” and “first power saving
      mode.”
                                                   11
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  1   of state information and processing. (See Ex. 8 (Reda Decl.) ¶ 45.) Such a person would
  2   not equate sufficient with a minimum value, but rather with a range. (Ex. 9 (Reda Dep.
  3   Tr.) at 115:12–116:13, 165:19–25, 167:22–168:1, 170:15–21.) As Dr. Reda testified, “the
  4   voltage range of the state information is a superset of the voltage required for instruction
  5   processing.” (Ex. 9 (Reda Dep. Tr.) at 189:3–6; see also id. at 116:7–11 (“[T]he entire
  6   window for operation to process instruction . . . is a subset of the window of voltage
  7   required to retain the state information.”).) Interpreting “sufficient” to mean “at least”
  8   is consistent with constructions by other courts. See, e.g., Pactiv, LLC v. Multisorb Techs.,
  9   Inc., No. 10 C 461, 2013 WL 120234, at *13 (N.D. Ill. Jan. 9, 2013), aff’d, 621 F. App’x
10    665 (Fed. Cir. 2015) (“The proportions required by [“sufficient proportions”] are simply
11    that there be enough salt to combine with water to create an electrolyte that causes the
12    iron to absorb at least some oxygen.”); TASER Int’l, Inc. v. Stinger Sys., No. 2:09-cv-289-
13    MMD-PAL, 2012 WL 3562371, at *5 (D. Nev. Aug. 16, 2012) (defining “high voltage”
14    to mean “voltage sufficient to arc across a significant air gap, i.e. at least several
15    thousand volts”).
16           Moreover, any construction of “sufficient to maintain the state information of the
17    instruction-processing circuitry” must account for the fact that this term appears in two
18    clauses of claim 1 describing two operating modes: (1) a “normal operation mode”
19    (“wherein in a normal operation mode…the core voltage is a first value that is sufficient
20    to maintain the state information of the instruction-processing circuitry; the core is
21    active”) and (2) a “first power saving mode” (“wherein in a first power-saving mode
22    …the core voltage is sufficient to maintain the state information of the instruction-
23    processing circuitry”). Apple’s proposal does so. Qualcomm’s does not.
24           Beginning with the first clause, normal operation mode means that the core can
25    operate. This conclusion is reinforced by the claim requirement that the “core is active”
26    in this mode. (Ex. 6 (’453) at cl. 1.) Thus, in “normal operation mode,” the core must
27    receive a voltage that is sufficient to maintain the state information and to perform
28    instruction processing. (Id. at cl. 1, 4:13–15 (“The voltage applied to core power 134
                                                   12
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  1   remains sufficiently high during instruction processing so that core power area 126
  2   remains fully active”).)    Apple’s construction of “sufficient to maintain the state
  3   information of the instruction-processing circuitry” allows for this normal operation
  4   mode because the only restriction it imposes on the core voltage is that it be “at least a
  5   value that maintains the state information of the instruction-processing circuitry.”
  6   Qualcomm’s construction, in contrast, prohibits the core voltage from being “sufficient
  7   to allow instruction processing to continue” in “normal operation mode.” Thus, under
  8   Qualcomm’s construction, the core is inoperable during “normal operation mode,”
  9   which is nonsensical. This goal-seeking construction does violence to the claims by
10    rendering them inoperable and, therefore, cannot be correct.            AIA Eng’g Ltd. v.
11    Magotteaux Int’l S/A, 657 F.3d 1264, 1278 (Fed. Cir. 2011) (“[A] construction that renders
12    the claimed invention inoperable should be viewed with extreme skepticism.”); see also
13    Wi-Fi One, LLC v. Broadcom Corp., 887 F.3d 1329, 1345–46 (Fed. Cir. 2018) (rejecting
14    proposed construction that resulted in a configuration which “would not work” and
15    adopting construction “faithful to the invention disclosed in the specification”).
16           With respect to the second clause, the “first power-saving mode” clause recited in
17    claim 1, the only mandated difference from normal operation mode is that “the clock
18    signal to the core is inactive.” (Ex. 6 (’453) at cl. 1.) Nothing in the claim or the written
19    description requires that the core voltage necessarily be lower than it was in the normal
20    operation mode. Rather, the patent describes multiple embodiments of power-saving
21    modes. In one, the clock is halted, but the core voltage remains at instruction-processing
22    levels. (Ex. 6 (’453) at 4:61–64 (“[T]he system enters a normal nap mode, which involves
23    halting the processor without reducing any voltages (step 208). Typically, halting the
24    processor involves removing the clock signals to the core power area.”).) In the other
25    power-saving mode, the core voltage is “not sufficient to allow processing to continue.”
26    (Ex. 6 (’453) at 4:18–22.)       Because Qualcomm’s construction excludes the first
27    embodiment above, it should be rejected. See, e.g., Oatey Co. v. IPS Corp., 514 F.3d 1271,
28    1276 (Fed. Cir. 2008) (reversing construction excluding embodiment).
                                                   13
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            C.     “power area” (’940 patent, claims 9, 11)
  1
  2     Disputed             Apple’s Construction                          Qualcomm’s
          Term                                                            Construction
  3    “power area” plain and ordinary meaning. To the              “arrangement of elements
  4                 extent the Court finds that further             connected to the same
                    construction is necessary, “grouping            power supply”
  5                 related to receiving power”
  6         The parties’ dispute here centers on whether a “power area” is defined based on
  7   requirements for receiving power, as Apple proposes, or requirements based on
  8   connection to an amorphous power supply, as Qualcomm contends. The ’940 clearly
  9   describes grouping processor components into a “power area” based on requirements
10    for receiving power, not connection to a power supply: “[n]on-core power area 124
11    receives non-core power 136 and core power area 126 receives core power 134.” (Ex.
12    7 (’940) at 3:59–60.) Similarly, Figures 1A and 1B show different processor components
13    grouped into “non-core power area 124” and “core power area 126” according to the
14    power they receive (e.g., “non-core power 136” or “core power 134”). (Id. at Figs. 1A,
15    1B; see also id. at 2:46–51, 3:2–5, 4:22–23; Ex. 8 (Reda Decl.) ¶¶ 48–49.) The specification
16    is consistent—a “power area” is a “grouping related to receiving power.”
17          Qualcomm instead proposes a construction that would require components
18    within a “power area” to be “connected to the same power supply.” There is no basis in
19    the plain language of the ’940 claims or specification for such a construction. The ’940
20    simply does not mandate anything about the power supplies or connection to them, only
21    the differentiated receipt of power. (See Ex. 8 (Reda Decl.) ¶ 50.) In fact, the term
22    “power supply” never appears in the claims or specification. Rather, Qualcomm’s expert
23    takes this language from an unrelated patent (Ex. 10 (Decl. of Richard A Belgard
24    (“Belgard Decl.”) ¶¶ 56–57 (discussing the understanding of “[a] person of ordinary skill
25    in the art (familiar with Vaglica)”)), and improperly imports it into the claims. For this
26    reason alone, Qualcomm’s construction should be rejected.
27          Qualcomm’s construction also injects unnecessary ambiguity into the claims. It is
28    unclear to one of skill in the art what “the same power supply” means. (See Ex. 8 (Reda
                                                  14
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  1   Decl.) ¶ 51; Ex. 9 (Reda Dep. Tr.) at 135:13–24, 215:16–216:2 (“What is exactly power
  2   supply? . . . [E]verything ultimately is connected to a power supply.”).) “Power supply”
  3   could, for example, refer to the ultimate source of device power like a battery or power
  4   cord, the entire power distribution network of a processor, or the voltage regulator of a
  5   specific component. (See Ex. 8 (Reda Decl.) ¶ 51.) Because one of ordinary skill would
  6   be confused by Qualcomm’s introduction of “power supply” in its construction, it
  7   cannot be correct. Action Star Enter. Co. v. KaiJet Tech. Int’l Ltd., No. CV-1208074-BRO-
  8   MRX, 2014 WL 12595331, at *8 (C.D. Cal. Jan. 27, 2014) (“[T]he Court should [not]
  9   confer upon unambiguous terms, which were obviously intended in their plain and
10    ordinary sense, a strained and convoluted definition.”).
11          D.     “real-time clock” (’940 patent, claims 9, 11)
12     Disputed               Apple’s Construction                   Qualcomm’s
13        Term                                                       Construction
       “real-time plain and ordinary meaning. To the extent the “circuit that provides
14     clock”     Court finds that further construction is      time-of-day services to
15                necessary, “provider of time-of-day services” the processor”
16          With respect to “real-time clock,” the parties dispute whether the Court should
17    narrow the plain and ordinary meaning of “real-time clock” to one embodiment. The
18    ’940 uses “real-time clock” according to its plain and ordinary meaning, which is captured
19    by Apple’s proposal: “provider of time-of-day services.”         Apple’s construction is
20    consistent with both the understanding of one of ordinary skill in the art and the
21    specification. Conversely, Qualcomm’s construction artificially narrows the term to just
22    one embodiment, a “circuit.”
23          The ’940 provides a straightforward description of “real-time clock” consistent
24    with its plain and ordinary meaning: “Real-time clock 114 provides time-of-day
25    services to processor 102.” (Ex. 7 (’940) at 3:36–37.) Even Qualcomm’s expert admits:
26    “This passage [’940 at 3:35–39] of the specification is an excellent description of one
27    definition well-known to a person of ordinary skill in the art, that is, a real-time clock,
28    sometimes called a ‘time of day clock,’ is a device that provides time-of-day services
                                                  15
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  1   to a processor.” (Ex. 10 (Belgard Decl.) ¶¶ 60–61.)
  2          The ’940 specification does not limit a “real-time clock” to a “circuit” (as
  3   advocated by Qualcomm) or any other particular implementation. Not only does the
  4   written description provide no limitation, one of ordinary skill would have recognized
  5   that real-time clocks had various embodiments beyond just a “circuit” and would
  6   therefore not limit “real-time clock” to a circuit implementation. (See Ex. 8 (Reda Decl.)
  7   ¶¶ 54–58; Ex. 9 (Reda Dep. Tr.) at 220:19–24 (“[T]he realtime clock could be part circuit,
  8   part firmware.”); Ex. 11 (Belgard Dep. Tr.) at 55:10–12 (“Q. Can hardware in
  9   combination with software provide time-of-day services? A. Sure.”).)                 Because
10    Qualcomm’s construction imports into the term “real-time clock,” a limitation not
11    present in the claims or the specification, it should be rejected. See, e.g., Enthone Inc. v.
12    BASF Corp., No. 1:15-CV-0233-TJM-DEP, 2016 WL 6679493, at *12 (N.D.N.Y. June
13    17, 2016), report and recommendation adopted, No. 1:15-CV-233, 2016 WL 4257355
14    (N.D.N.Y. Aug. 11, 2016) (rejecting proposed limiting construction where “nowhere in
15    the claim or written description is the depicted structure limited to a block copolymer”);
16    cf. Cadence Pharm., Inc. v. Exela PharmSci Inc., 780 F.3d 1364, 1369 (Fed. Cir. 2015) (“[E]ven
17    if all of the embodiments discussed in the patent included a specific limitation, it would
18    not be proper to import from the patent’s written description limitations that are not
19    found in the claims themselves.”). The term “real-time clock” should be given its plain
20    meaning, “provider of time-of-day services.”
21    V.     U.S. PATENT NOS. 8,271,812; 8,443,216; AND 8,656,196
22           The ’812, ’216, and ’196 patents (Exs. 12–14, collectively the “de Cesare Patents”)7
23    describe processor power management solutions. The de Cesare Patents explain that
24    reducing the power consumption of processors can enhance the battery life of mobile
25    devices and reduce cooling requirements. (Ex. 12 (’812) at 1:12–24.) These patents also
26
27
      7
        The de Cesare Patents (Ex. 12 (U.S. 8,271,812 (“’812”)); Ex. 13 (U.S. 8,443,216
      (“’216”)); Ex. 14 (U.S. 8,656,196 (“’196”))) are related in that the ’196 is a continuation
28    of the ’216 which is a continuation of the ’812 whose filing date is April 7, 2010. They
      share the same patent specification.
                                                   16
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  1   describe how processor components transition between performance states (e.g., wake,
  2   sleep, idle, processing states). (See, e.g., id. at 1:33–47.) For example, if a processor is not
  3   needed, it may enter a sleep state. (Id.) To prevent other system components from
  4   wasting power by continuously operating at levels required to support an active
  5   processor, the de Cesare Patents provide various power management strategies in which
  6   components in performance domains transition between performance states quickly and
  7   with minimal power consumption. (See, e.g., id. at 1:62–2:41, 7:58–8:23; see Ex. 15 (Decl.
  8   of Vincent Mooney (“Mooney Decl.”) ¶¶ 22, 46.)
  9          A.     “performance domain” (’812 patent, claim 8; ’216 patent, claim 1; ’196
                    patent, claims 1, 2, 3)
10
       Disputed Term     Apple’s Construction                     Qualcomm’s Construction
11     “performance  “one or more components that               “one or more components that
12     domain”       may be controlled as a unit or             may be controlled by the power
                     independently for performance              management unit as a unit for
13                   configuration purposes”                    performance configuration
14                                                              purposes”
15           The dispute between the parties on this term centers on two issues: (1) whether

16    components within a “performance domain” may be controlled either as a unit or

17    independently for performance configuration purposes; and (2) whether the power

18    management unit alone must control a “performance domain.”

19           With respect to the first issue, the specification unambiguously confirms that

20    components may be either controlled as a unit, or independently controlled, and thus

21    Apple’s construction is the correct one. Specifically, the written description discloses

22    that components in a “performance domain” may be controlled as a unit: “A

23    performance domain may be one or more components that may be controlled by the

24    PMU 28 as a unit for performance configuration purposes.” (Ex. 12 (’812) at 4:14–16.)

25    The specification also explicitly states that the components within a performance domain

26    can have their performance state and performance characteristics independently

27    controlled: “performance characteristics that apply to more than one component in a

28    performance domain and that may be independent[ly] controlled.” (Id. at 5:25–27.) The
                                                    17
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  1   patent provides further examples of “independent” control: “components in different
  2   performance domains may be independent of each other, at least from the standpoint of
  3   hardware, and may have independently-determined performance states.” (Id. at 4:22–
  4   25.) Still other examples reinforce the specification teaching of independent control:
  5   “For example, if the processor is powered off in the sleep state and other components
  6   are in the same performance domain, the voltage for the processor may be set
  7   separately from the voltage for the other components that remain active.” (Id. at
  8   5:20–24.)
  9         One of ordinary skill in the art would understand that performance domain
10    components may be controlled independently of each other. (See Ex. 15 (Mooney Decl.)
11    ¶¶ 27–28; Ex. 16 (Mooney Dep. Tr.) at 73:4–5.) The de Cesare Patents illustrate this
12    point through an example involving a processor and a component, both in the same
13    performance domain: “In embodiments in which a processor is in a performance domain
14    with other components, the other components may remain active during times that the
15    processor is in the sleep state. For example, the component 18 in the performance
16    domain 14A may remain active during times that the processor 16A is in the sleep state.”
17    (Ex. 12 (’812) at 5:29–36.) Moreover, a skilled artisan would recognize the need for
18    independent control because it allows the L2 cache to “remain active to maintain cache
19    coherence.” (See id. 5:36–43; Ex. 16 (Mooney Dep. Tr.) at 72:10–15 (“[T]here can be
20    additional performance domains where those independent components . . . have say a
21    different clock frequency or different voltage”).)
22          Qualcomm’s construction wrongly requires performance domain components to
23    be controlled only as a unit. First, Qualcomm improperly excludes the above-cited
24    embodiments where the components are controlled independently. See Viasat, Inc. v.
25    Space Sys./Loral, Inc., No. 3:12-cv-00260-H, 2013 WL 12061852, at *4 (S.D. Cal. May 29,
26    2013) (“[T]his court interprets the claim language according to the embodiments in the
27    specification and the surrounding claim language.” (citing Accent Packaging, Inc. v. Leggett
28    & Platt, Inc., 707 F.3d 1318, 1325–26 (Fed. Cir. 2013))); Ex. 15 (Mooney Decl.) ¶ 28.)
                                                  18
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  1         Second, the power management unit alone need not necessarily control a
  2   “performance domain.” The plain language of the claims illustrates that a “performance
  3   domain” may be controlled outside of a power management unit. Claim 1 of the ’216,
  4   for example, describes a “power management unit . . . configured to transition a second
  5   performance domain” in response to a “first performance domain including the
  6   processor transitioning to a second performance state.” (Ex. 13 (’216) at cl. 1.) Likewise,
  7   the specification describes that the power management unit is not the only mechanism
  8   for controlling performance domains. (See, e.g., Ex. 12 (’812) at Abstract (“The PMU
  9   may control the transition of the performance domains.”); id. at 3:5–7 (“‘[M]ay’ is used
10    in a permissive sense.”); Ex. 15 (Mooney Decl.) ¶ 29; Ex. 16 (Mooney Dep. Tr.) at
11    122:14–17, 124:16–18 (“There may be additional performance domains not controlled
12    by the PMU on the chip on specific embodiments.”)); i4i Ltd. P’ship v. Microsoft Corp., 598
13    F.3d 831, 844 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011) (refusing to limit claims because
14    “[t]he specification’s permissive language . . . does not clearly disclaim systems lacking
15    these benefits.”) For example, “performance domain[] transition may be hardware
16    controlled by the PMU 28, or may be software controlled using the valid indications in
17    the performance configuration registers.” (Ex. 12 (’812) at 8:57–60.) Thus, the power
18    management unit must control the transition of the “second performance domain,” but
19    need not control the “first performance domain.” (See Ex. 13 (’216) at cl. 1.)
20          As such, Apple’s construction appropriately captures the plain language of the
21    claims and the intrinsic record.
22           B.    “power management unit” (’812 patent, claim 8; ’216 patent, claims 1,
                   2; ’196 patent, claim 1)
23
        Disputed Term         Apple’s Construction               Qualcomm’s Construction
24     “power           plain and ordinary meaning. To           “a circuit that manages
25     management unit” the extent the Court finds that          power consumption by
                        further construction is necessary,       automatically transitioning in
26                      “hardware and/or software that           hardware the performance
27                      causes a performance domain to           states of a plurality
                        transition to a performance state”       performance domains”
28
                                                  19
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  1         The dispute here centers on whether the Court should import embodiments from
  2   the specification into the claims. Unsurprisingly, a “power management unit” manages
  3   power. As the de Cesare Patents explain, a “power management unit” can “establish a
  4   corresponding performance state for each performance domain, and . . . control
  5   transitions between performance states in each performance domain.” (Ex. 12 (’812) at
  6   4:16–20.) Such transitions occur when the criteria described in the claims are satisfied.
  7   (See, e.g., id. at cl. 8.) Because one of ordinary skill in the art would readily understand
  8   this idea, (see Ex. 15 (Mooney Decl.) ¶¶ 32–37; Ex. 16 (Mooney Dep. Tr.) at 65:6–24),
  9   the Court need not construe “power management unit.”
10          Should the Court construe this term, only Apple’s construction is consistent with
11    the intrinsic evidence. Qualcomm’s construction, in contrast, strips the claims of clarity
12    and is unduly narrow because it adds three improper limitations that are otherwise absent
13    from the claims: (1) limiting a power management unit to a hardware-only
14    implementation; (2) requiring automatically transitioning between states; and (3)
15    requiring a transition of performance states in a plurality of performance domains. With
16    its three added limitations, Qualcomm “asks the Court to essentially rewrite the claim,
17    which is beyond the scope of this Court’s power.” See Carl Zeiss Vision Int’l GMBH v.
18    Signet Armorlite, Inc., No. 07-cv-0894 DMS (POR), 2008 WL 4951984, at *3 (S.D. Cal.
19    June 2, 2008) (Sabraw, J.) (declining to import “numerous limitations” from exemplary
20    embodiments into claims); see also Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298,
21    1309–11 (Fed. Cir. 1999) (cautioning against importing limitations into the claims that
22    are not found in the claims themselves).
23          As to the first, the specification supports Apple’s construction that a “power
24    management unit” transitions a performance domain using either hardware and/or
25    software. For example, the de Cesare Patents explain that a “power management unit
26    may be programmable,” thus implying a combination of hardware and software. (Ex.
27    12 (’812) at 2:9–12; see also id. at Abstract (“The target performance states to which the
28    performance domains are to transition may be programmable in the PMU by
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  1   software.”); Ex. 16 (Mooney Dep. Tr.) at 182:25–183:2.) As a further example of a
  2   combination of software and hardware, the de Cesare Patents describe a “PMU driver”
  3   that “may invoke the transition.” (Ex. 12 (’812) at 11:31–35; see also Ex. 15 (Mooney
  4   Decl.) ¶ 33 (“The reference to PMU driver [in the de Cesare Patents] tells one of skill in
  5   the art that the power management unit of the claims is a combination of hardware and
  6   software.”).) Likewise, state transitions may be software-managed. (Ex. 12 (’812) at
  7   Abstract (“[S]oftware may signal the PMU that a processor in the system is to enter the
  8   sleep state.”); id. at 8:38–39 (“[S]oftware may use processor instruction execution
  9   mechanisms to cause the processor to enter the sleep state.”); Ex. 16 (Mooney Dep. Tr.)
10    at 184:24–185:2 (“You could implement a power management unit in software. That
11    would have to interface to the hardware through interface logic in order to affect the
12    transitions being requested.”).)
13          As to the second, Qualcomm inappropriately excludes an embodiment of the
14    specification by requiring that all state transitions occur automatically. The specification
15    explicitly states the opposite: “in addition to the automatic performance state transitions
16    performed for sleep and wake transitions in the processors, the software 60 may also
17    change performance states directly based on the activity in the system as a whole. . . .
18    The software 60 may directly request such changes.” (Ex. 12 (’812) at 10:63–11:3.)
19    The specification offers further embodiments contradicting Qualcomm’s construction.
20    For example, “[t]he [power management unit] 28 may be configured to automatically
21    transition one or more of the performance domains 14A-14F.” (Id. at 4:2–4.) However,
22    in other embodiments, “the closely linked performance domains may transition to
23    different performance states in response to the corresponding processor entering the
24    sleep state.” (Id. at 8:52–55.) This demonstrates not only that may a state transition be
25    not automatic, but that it may be directly software managed. Moreover, one of ordinary
26    skill would not necessarily understand transitions to occur automatically. (See Ex. 15
27    (Mooney Decl.) ¶ 35 (“[P]ower management unit initiated transitions occur in the system
28    on a chip when the criteria described in the claims are satisfied.”); Ex. 16 (Mooney Dep.
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  1   Tr.) at 113:16–20, 114:20–115:2 (“[T]he definition of power management unit is more
  2   general than specifically saying it must automatically transition.”).)
  3             As to the third, the specification directly contradicts Qualcomm’s construction
  4   requiring transitioning performance states in a plurality of performance domains. The
  5   written description explains that the power management unit may alter the “the
  6   performance states of one or more performance domains.” (Ex. 12 (’812) at Abstract;
  7   accord id. at 10:67–11:2 (“[E]ven if the processors are not going to the sleep state, changes
  8   in the performance state of one or more performance domains may be desirable.”);
  9   Ex. 15 (Mooney Decl.) ¶ 36; Ex. 16 (Mooney Dep. Tr.) at 134:17–19 (“[P]ower
10    management unit can also control a single performance domain.”).) Indeed, the claims
11    themselves require only a single performance domain to transition states: “wherein the
12    power management unit is configured to transition at least a first performance domain
13    of the plurality of performance domains to a first performance state.” (Ex. 12 (’812) at
14    cl. 8.)
15              C.    “establish a . . . performance state” (’812 patent, claim 8; ’216 patent,
                      claim 1; ’196 patent, claim 1)
16
17        Disputed                    Apple’s Construction                  Qualcomm’s
            Term                                                            Construction
18     “establish a . .   plain and ordinary meaning. To the extent      “to cause the
19     . performance      the Court finds that further construction is   performance
       state”             necessary, “set the . . . one or more          domain to apply the
20                        performance characteristics to the appropriate performance state to
                          values for the performance state”              that domain”
21
                The parties dispute how a performance state is “established” or “set” for
22
      components within a performance domain. Apple contends “establish a . . . performance
23
      state” as used in the de Cesare Patents means “set the . . . one or more performance
24
      characteristics to the appropriate values for the performance state.” This construction is
25
      clear, easy to understand, and supported by the specification. In contrast, Qualcomm’s
26
      construction is confusing and contrary to common sense.
27
                Qualcomm’s construction, requiring performance domains to “apply” their own
28
                                                   22
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  1   performance states, “is illogical and does not accord with the plain import of the claim
  2   language.” Interactive Gift Exp., Inc. v. Compuserve Inc., 256 F.3d 1323, 1336 (Fed. Cir. 2001)
  3   (overruling construction of “material object” in claim that required “the information” to
  4   be reproduced on the “material object” as “the information itself”); (see also Ex. 15
  5   (Mooney Decl.) ¶ 41; Ex. 16 (Mooney Dep. Tr.) at 138:7–11.) A “performance domain”
  6   is merely a set of one or more components and therefore does not establish performance
  7   states. (Ex. 15 (Mooney Decl.) ¶ 41; Ex. 16 (Mooney Dep. Tr. at 138:1–2.) Qualcomm’s
  8   construction thus creates the possibility of confusion with “power management unit”
  9   and its role with respect to establishing performance states in performance domains. See
10    Power-One, Inc. v. Artesyn Techs., Inc., 599 F.3d 1343, 1348 (Fed. Cir. 2010) (“The terms of
11    the patent claims, as construed by the court, must ensure that the jury fully understands
12    the court’s claim construction rulings and what the patentee covered by the claims.”).
13             Consistent with Apple’s construction, Qualcomm admits that a “performance
14    state” is “a combination of performance characteristics for the components in a
15    corresponding performance domain.”8 (See Doc. No. 250 (Jt. Claim Const. Stmt.) at 2;
16    see also Ex. 12 (’812) at 4:31–33.) One or more performance characteristics, such as such
17    as “supply voltage,” (Ex. 12 (’812) at 4:31–62), must be set to the appropriate value to
18    achieve the desired performance state. (See Ex. 15 (Mooney Decl.) ¶ 40; Ex. 16 (Mooney
19    Dep. Tr.) at 139:9–14.) In one embodiment, for example, “the voltage for the
20    processor may be set separately from the voltage for the other components that remain
21    active.” (Ex. 12 (’812) at 5:22–24; see also id. at 5:19–28.) Therefore, Qualcomm’s
22    construction should be rejected.
23             D.    “a prior performance state at which the processor was operating
                     prior to entering the sleep state” (’812 patent, claim 8)
24
25            Disputed Term                  Apple’s Construction          Qualcomm’s
                                                                           Construction
26        “a prior performance state “the performance state at which the Plain and ordinary
27        at which the processor was processor was last operating before

28    8
          The parties agree to this construction of “performance state.”
                                                    23
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  1       operating prior to entering the transition to the sleep state        meaning
          the sleep state”            began”
  2
  3            Qualcomm proposes plain and ordinary meaning for this term. Apple agrees, so
  4   long as that plain and ordinary meaning is consistent with “the performance state at
  5   which the processor was last operating before the transition to the sleep state began.”
  6   To the extent Qualcomm does not agree, then this claim construction dispute must be
  7   resolved now.9
  8            When read in light of the claims and the specification, this term simply means “the
  9   performance state at which the processor was last operating before the transition to the
10    sleep state began.” (See Ex. 16 (Mooney Dep. Tr.) at 146:19–22.) The specification
11    explains that when a processor undergoes a sleep-to-wake transition, “the wake
12    performance state is different from the performance state prior to the processor
13    transitioning to the sleep state,” (e.g., an idle state). (See Ex. 12 (’812) at 8:21–23; Ex. 15
14    (Mooney Decl.) ¶ 46.) When considering that much of the specification is directed to
15    achieving such transitions quickly and with minimal power impact, this must be true. For
16    example, the ’812 explains that complex transitions (e.g., idle-to-sleep-to-wake
17    transitions) pose different performance level requirements than more basic wake-to-
18    sleep-to-wake transitions. (See Ex. 12 (’812) at 1:42–46.) To perform such transitions
19    efficiently, the system stores performance state configurations in, for example, registers.
20    (See id. at 7:58–10:12, 8:13–23.) Claim 8 thus refers to not just any performance state
21    but the performance state just before the transition to sleep. (Ex. 15 (Mooney Decl.)
22    ¶ 46; Ex. 16 (Mooney Dep. Tr.) at 152:20–153:7.)
23             Consequently, the Court should accept Qualcomm’s assertion of plain meaning
24    only if Qualcomm confirms that plain meaning is the plain-meaning construction
25    9
          Qualcomm had claimed that the term was indefinite, offering multiple proposed
26         meanings, but has now abandoned that position, claiming the term should receive
           its plain and ordinary meaning. At the close of claim construction, Apple wants no
27         confusion regarding that plain and ordinary meaning. See, e.g., CytoLogix Corp. v.
           Ventana Med. Sys., Inc., 424 F.3d 1168, 1172 (Fed. Cir. 2005) (allowing experts to
28         argue claim construction to the jury is “improper” because “[t]he risk of confusing
           the jury is high”).
                                                    24
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  1   proposed by Apple. Otherwise, the Court must decide the dispute.
  2   VI.   CONCLUSION
  3         For the above reasons, and those to be stated in later briefing and at argument,
  4   Apple respectfully requests that the Court adopt Apple’s constructions.
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  1                              CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on August 8, 2018 to all counsel of record who
  4   are deemed to have consented to electronic service via the Court’s CM/ECF system
  5   per Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
  6   facsimile and/or overnight delivery.
  7         Executed on August 8, 2018, at San Diego, California.
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